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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



THE WILDERNESS SOCIETY et al.,                               Civil Action No. 1:22-cv-01871-CRC

              Plaintiffs,                                    Hon. Christopher R. Cooper

              v.
                                                             ORDER
DEBRA HAALAND, in her official capacity as
Secretary of the Interior, et al.,

              Defendants,

and

STATE OF WYOMING,

              Intervenor-Defendant.



       Upon consideration of the parties’ Joint Proposed Schedule, the Court hereby ORDERS

that the Joint Proposed Schedule is ADOPTED, and the case shall proceed on the following

schedule:

       1.          Administrative Record and Record Challenges

       Federal Defendants shall file the certified index to the administrative record

       and serve copies of the record on the parties:                       December 16, 2022

       Deadline for Plaintiffs and Intervenor-Defendant to notify Federal Defendants

       in writing of any objections to the administrative record:           January 17, 2023

       The Parties shall confer and attempt to resolve any such record objections or disputes out

of Court and prior to filing any motions to supplement the administrative record or for extra-

record review with the Court.

       Deadline for all parties to file motions seeking to supplement the administrative
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       record or to submit extra-record evidence:                           February 14, 2023

       Any such motions shall be briefed in accordance with the timeframes allowed in the local

rules unless otherwise ordered by the Court. If any such motions are filed, the summary

judgment briefing schedule below shall not apply, and the parties will submit a status report and

proposed summary judgment briefing schedule within 14 days after those motions are resolved.

       If no administrative record motions are filed, summary judgment motions will be briefed

according to the schedule below.

       2.       Summary Judgment Briefing Schedule

       Plaintiffs to file their summary judgment motion addressing

       all claims:                                                          March 9, 2023

       Federal Defendants to file a combined summary judgment response

       and cross-motion for summary judgment addressing all claims:         May 1, 2023

       Intervenor-Defendant to file a combined summary judgment

       response and cross-motion for summary judgment on all claims:        May 8, 2023

       As appropriate, Intervenor-Defendant Wyoming will strive to avoid repeating the

arguments raised by the Federal Defendants and may adopt and incorporate those arguments

by reference.

       Plaintiffs to file a combined summary judgment reply and response to

       the cross-motions for summary judgment on all claims:                June 8, 2023

       Federal Defendants to file their reply in support of their cross-motion

       for summary judgment on all claims:                                  July 17, 2023

       Intervenor-Defendant to file its reply in support of cross-motion

       for summary judgment on all claims:                                  July 24, 2023



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       As appropriate, Intervenor-Defendant Wyoming will strive to avoid repeating the

arguments raised by the Federal Defendants and may adopt and incorporate those arguments

by reference.

        3.      Summary Judgment Motion Page Limits: The parties’ summary judgment

points and authorities will conform to the page limits in LCvR 7 unless the Court grants

permission to deviate from those limits.

       4.       Remedy Briefing: Briefing regarding the appropriate remedy shall be conducted

separately from the briefing of the merits. If the Court rules in favor of the Plaintiffs on any of

their claims on summary judgment, the parties will submit a proposed schedule for remedy

briefing within seven days of the Court’s summary judgment ruling.

       IT IS SO ORDERED.

       DATED this ____th        September
                    30 day of ______________, 2022.



                                              ___________________________
                                              Judge Christopher R. Cooper
                                              United States District Court




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